                                   Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 1 of 13
AO 108 (Rev. 06/09) Application for a Warrant to Seize Property Subject to Forfeiture



                                                 United States District Court
                                               Eastern District of Pennsylvania
 In the Matter of the Seizure of
                                                                                 : APPLICATION FOR A WARRANT TO SEIZE
 All Funds stored in Fifteen (15) Amazon Customer                                : PROPERTY SUBJECT TO FORFEITURE
 Accounts detailed in Attachment A and totaling
 $159,496.57                                                                     : Case No. 16-MJ-;iY q


        I, Special Agent Geoffrey Gordon, a federal law enforcement officer, request a seizure warrant and state
under penalty of perjury that I have reason to believe that the following property in the Western District of
Washington constitutes proceeds of a conspiracy to operate an illegal internet gambling operation in violation of
18 U.S.C. §§ 371, 1084 and 1343, and/or were involved in a conspiracy to commit money laundering in violation
of 18 U.S.C. sections 1956(a)(l) and 1956(h) or traceable to such property; and are therefore subject to seizure
and forfeiture pursuant to 18 U.S.C. § 981(a)(l)(A) & (C), 18 U.S.C. § 982(a)(l) & (2)(B), and 28 U.S.C. 2461. I
submit this seizure warrant pursuant to 18 U.S.C. § 981(b) and 21 U.S.C. § 853(f), incorporated by 18 U.S.C. §
982(b)(l) or 28 U.S.C. § 2461(c).

 All Funds stored within Fifteen (15) Amazon Customer Accounts detailed in Attachment A and totaling
 $159,496.57

             The Application is based on these facts:

               X See Affidavit of Special Agent GEOFFREY GORDON Attached.
               0 Continued on the attached sheet.




                                                                             Applicant's Signature

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                                                                            Printed Name and Title
Sworn to before me and signed in my presence.

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Date and Time Issued

                                                                            Hon. MARILYN HEFFLEY, US Magistrate Judge
                                                                            Printed Name and Title
             Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 2 of 13




                        AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT

I.      Afflant

1.      I, Geoffrey Gordon, am a Special Agent with Homeland Security Investigations (HSI),
Department of Homeland Security. I have been a HSI Special Agent since 2009. I have been a Special
Agent for the government since 2006 and participated in numerous criminal investigations of financial
crimes and money laundering. Prior to becoming a Special Agent I was a Certified Public Accountant
(CPA) licensed in Pennsylvania and received a Bachelor's Degree in Accounting from Pennsylvania State
University.

2.      As a HSI Special Agent I am currently assigned to the Special Agent in Charge, Philadelphia,
Pennsylvania Financial Investigations Group. In this capacity I am charged with investigating violations
of the Money Laundering Control Act of 1986, Bank Secrecy Act, the USA Patriot Act of 200 I and other
financial crimes. I have received specific training in investigations of financial crimes and money
laundering and obtained search warrants and seizure warrants as well as Title III wire intercept orders,
based on money laundering violations. I have been admitted and testified as an expert in money
laundering in Pennsylvania Common Pleas Court.

II.     Purpose of Affidavit.

3.      This Affidavit is submitted in support of a seizure warrant for the value stored within fifteen
Amazon Customer Accounts listed in Attachment A, including but not limited to the account balance and
any frozen or restricted funds.

4.       For the following reasons, your affiant submits that there is probable cause to believe that the
funds stored in the Amazon Customer Accounts listed in Attachment A constitute the proceeds of and/or
are involved in a conspiracy to operate an illegal internet gambling operation in violation of Title 18
U.S.C. § 371 (conspiracy),§ 1084 (illegal gambling), and§ 1343 (wire fraud), and property were
involved in a conspiracy to commit money laundering in violation of 18 U.S.C. sections l 956(a)(l) and
I 956(h) or traceable to such property; and are therefore subject to seizure and forfeiture pursuant to 18
U.S.C. § 981(a)(l)(A) and (C), 18 U.S.C. 982(a)(l) and (2)(8), and 28 U.S.C. 2461.

Ill.    Applicable Forfeiture Law

5.      Title 18, United States Code, Section 981 (a)(l)(C) provides for civil forfeiture of any
property, real or personal, which constitutes or is derived from proceeds traceable to any offense
constituting "specified unlawful activity," or a conspiracy to commit such offense. Specified
unlawful activity is defined at 18 U.S.C. § 1956 (c) (7) to include the operation of an illegal
gambling business in violation of 18 U.S.C. § 1084, as well as wire fraud in violation of 18
U.S.C. § 1343. Title 28, United States Code, Section 246l(c) provides for criminal forfeiture of
any property subject to civil forfeiture.

6.      Title 18, United States Code, Sections 981 (a)(l )(A) and (C) provide in part for civil
forfeiture of any property, real or personal, which has been involved in a transaction or attempted
transaction which violates 18 U .S.C. § 1956 (money laundering), or any property traceable to
such property.
              Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 3 of 13




7.      Title 18, United States Code, Section 982(a)(l) provides for criminal forfeiture of any
real or personal property involved in a money laundering offense in violation of 18 U.S.C.
§ 1956, and any property traceable thereto.

 IV.     Affiant's Basis for Probable Cause

8.      The information provided in this affidavit is based on my personal knowledge and observations
made during the course of this investigation; information conveyed to me by others, including law
enforcement and private sector officials, my review of records, documents, and other evidence obtained
during this investigation; and interviews I conducted during this investigation.

9.       This affidavit contains information necessary to support probable cause for this application and
does not contain every material fact that I have learned during the course of this investigation; however,
no information known to me that would tend to negate probable cause has been withheld from this
affidavit.

V.       Background on Offshore Internet Gambling

10.       The Unlawful Internet Gambling Enforcement Act of2006, Title 31 U.S.C § 5361 et seq. was
signed into law, prohibiting knowingly accepting payments in connection with the participation of
another person in a bet or wager that involves the use of the Internet and that is unlawful under any
federal or state law. This statute further strengthened restrictions on online gambling, including
the Federal Wire Act, Title 18 U.S.C § 1084, which prohibits electronic transmission of information for
sports betting across telecommunications lines. As a result of this new law various international financial
institutions began to prohibit their customers from using their accounts to make payments to online
gambling websites. Further, laundering of money derived from violations of Title 18 U.S.C § 1084 is
prohibited under 18 U.S.C. sections l 956(a)( l ).

VI.     Amazon Payments

11.      Amazon Payments, Inc. is a wholly-owned subsidiary of Amazon.com, Inc. ("Amazon.com"). Its
primary businesses include providing an electronic commerce platform for sellers as well as payment
processing for Internet-based merchants. With Amazon.com, retail customers can purchase goods from
Amazon as well as third party Sellers vending on Amazon.com. Amazon.com is an Internet-based service
and, as such, does not accept currency. One of the payment methods which Amazon.com accepts are
Amazon Gift Cards (AGCs).

12.     AGCs can be purchased online by ordinary retail customers through the Amazon website or
through online re-sellers. AGCs can also be purchased at physical retail stores through third-party
vendors. AGCs may be redeemed for purchases on Amazon.com during the checkout process, and
function like most gift cards as a form of stored value, similar to traditional currency. Each AGC is
assigned a unique identifying code known as the Gift Card ID.

13.     AGCs may also be claimed by a customer and saved in the customer's account for later use by
loading the AGC's unique Gift Card ID into the customer's gift card funds balance (AGC balance). Any
number of AGCs can be claimed to a customer account's AGC balance and later redeemed for purchases
on Amazon.com, but Amazon imposes limits on the maximum value of a single AGC is $2,000.00 and
permits individuals to purchase no more than $10,000.00 in AGCs per day.

14.     Amazon Payments' Customer Agreement requires that users of its services, which includes the
use of AGCs, '"at all times adhere to all law applicable to your use of the Service ... ;' prohibits users who
                Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 4 of 13




    "act as a payment intermediary, aggregator or service bureau or otherwise resell the Service on behalf of
    any third party, including without limitation the handling, processing, and transmission offunds for any
    third party ... ," and prohibits use of its services for specified activities including "Gambling Businesses -
    includes online gambling (including poker), lotteries (including sale of lottery tickets), games of chance
    (including sweepstakes and raffles), sports forecasting, or odds-making. 1"

    V.      SD IMES

    15.      SDIMES is an internet gambling company, which maintains a website, www.SDimes.eu
    accessible from the U.S. According to the website SDIMES is an internet-based sports gambling
    enterprise located in Costa Rica, which caters to the U.S. sports gambling market, offering wagers on U.S.
    sporting events, such as the Super bowl, the NBA Championships and the World Series, in U.S .dollars.
    As an off-shore gambling company serving U.S. bettors, SDIMES is violating Title 18 U.S.C § 1084.
    Your Affiant has spoken to U.S. customers of SDIMES who have placed wagers online via 5DIMES and
    learned that a U.S. customer can easily register with 5DIMES, fund their wagering account and place
    bets.

16.      The payment methods commonly used by consumers to conduct online financial transactions,
such as credit and debit cards, are unavailable to SDIMES as an illegal online gambling website, under
the Unlawful Internet Gambling Enforcement Act of 2006 and other federal laws. This prohibition
creates a significant problem for 5DIMES and its U.S. bettors, who desire to place wagers via 5DIMES
and collect their winnings. Your Affiant has reviewed the SDIMES website and found that it offers
multiple alternatives for bettors located in the U.S. to fund their wagering account in order to evade
federal regulations. In the "About Us" section of the SDIMES website, the following question and
answer is posted:

            "Q: Do you have staff located in the US. who can take my money and pay me my winnings?

           A: All transactions take place outside of the United States. Funds can be sent to you in a variety
           of ways. Visit our Funding Methods page for more information. Your fimds can arrive right at
           your doorstep or in your bank account."

17.     The SDIMES website indicates that for many of the funding methods offered to its bettors
5DIMES charges a fee. One of the few such funding methods that SDIMES does not impose a fee to U.S.
gamblers to deposit or withdrawal funds from their wagering accounts is using AGCs. The SDI MES
website describes AGCs as "redeemable toward millions of items at Amazon.com, have no fees, and
never, ever expire!" The website instructs bettors wishing to use AGCs to fund their accounts as follows:

           "In order to make an Amazon GC deposit, you must email your deposit details, including a clear
           front and back photograph ofyour Amazon Gift Card with the 15 digit code scratched. Please
           attach a picture of the Amazon GC purchase receipt as well. Amazon GC deposits are generally
           credited to your account within 45 minutes of receiving the email. Emails received with blurry images
           will not have the fimds credited."

18.        The website also indicates:




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 Amazon Payments Customer Agreement, Updated October 30, 2015, https://payments.amazon.com/help/6019,
and Amazon Payments Acceptable Use Policy, Updated february 8, 2014,
https://payments.amazon.com/help/6023, both accessed on January 28, 2016.
              Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 5 of 13




         "We accept Amazon GC purchased directly at the stores with CASH ONLY. Click here to find
         participating retailers. Electronic gift cards purchased online or gift cards purchased with
         credit/debit cards at a retail store will not be accepted under any circumstances."

19.     This cash only policy is unusual and prevents purchasing AGCs with a credit card. Your Affiant
knows that by limiting the AGCs to those acquired with cash only, 5DIMES creates conceals the original
source of the gift cards and prevents scrutiny by U.S. credit card processors.

20.      The 5DIMES website offers the following directions for bettors wishing to withdraw via AGCs:

         "How to redeemfimdsfrom your 5Dimes account using Amazon Gift Cards

         Payouts can be processed to your Amazon account in amounts of $50 up to $1000 (higher amounts
         might be available). Gift card codes for your Amazon account will commence to be available the
         same day. In order to receive detailed instructions to cash out through this method, please email.

         Please keep in mind that once the payout is processed there is no possibility ofpayout revokes or
         cancellation of the transactions.

         Now, all customers can take advantage of the Amazon 10% Extra Bonus Payouts! Request an
         Amazon Payout and receive 10% more in your Amazon account than what you have deducted in your
         sports account! A redemption of $45 will receive $50 in their Amazon account. A redemption of
         $9,000 will receive $10,000 in their Amazon account."

21.      Your Affiant notes that 5DIMES incentivizes withdrawals using AGCs, by not charging a withdrawal
fee and offering a 10% premium on such withdrawals, which I believe indicates that 5DIMES prefers this
method over others.

22.     On December 22, 2015 Your Affiant viewed a post on the internet forum www.therxforum.com,
which is a sports betting website. The post is as follows:

         "just seen that 5dimes is now offering a amazon gift card payout option.. the site says payouts range
        ji'om $50 to $1000 ... whats whack about it is your cash gets credited to your amazon account and you
        can only spend it on amazon.com ... ]just got offa live chat with tony and he kept telling me its good
        because 'uncle sam' has no clue & can't track it & so on ... if I was able to purchase mastercard or
        visa prepaid gift cards offamazon, 1'd think about it, but for the life ofme I can't flan any to
        purchase! Its all gift cards to specific stores & what not. Has anybody ever been able to purchase a
        prepaid gift card offthere before? If not, imjust going to ignore this payout method, I don't want my
        money tied up on amazon.com"

23.     Your Affiant believes this is a discussion of 5DIMES use of AGCs and contained a reference to
concealing such activity from the U.S. authorities.

VIII.   The Investigation

24.     HSI is investigating an international money laundering organization operating in Central America
and the U.S. The investigation has revealed that this organization has developed a complex money
laundering network whose primary purpose appears to be to evade federal laws prohibiting online
gambling and money laundering.
25.      In summary the investigation has determined that 5DIMES has developed an alternative to the
traditional online financial payment methods, which is unavailable to 5DIMES under federal law, in
order to operate its illegal betting operation in the U.S. This illegal alternative relies on the use of AG Cs,
             Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 6 of 13




in violation of Amazon's terms of service. Based on contacts with U.S. customers of 5DIMES, and
evidence presented in this affidavit, Your Affiant believes that 5DIMES illegal use of AGCs for wagering
operates as follows:
         a.     First a U.S. bettor funds their online 5DIMES wagering account by anonymously
purchasing AGCs from physical retailers in the U.S. using cash and sends the unique AGC Gift Card ID
for the purchased card via email to 5DIMES.
        b.      Once this information is received, 5DIMES verifies the information and adds the AGC to
one of several nominee Amazon accounts it controls, effectively depositing the funds in violation of 31
USC 5363.
         c.     Next 5DIMES will then credit the U.S. bettor's wagering account accordingly. The U.S.
bettor may now place online wagers using these funds via 5DIMES's website. If the bettor wishes to
"cash-out" and withdraw funds from 5DIMES, arrangements will be made to transfer AGCs from one of
5DIMES's nominee Amazon accounts to the bettor's Amazon account. Alternatively the bettor may
select merchandise from Amazon, which 5DIMES will purchase using AGCs from one of5DIMES's
nominee Amazon accounts, and ship directly to the bettor, deducting the value of the merchandise from
the bettor's wagering account.
        d.       In addition to using the AGCs to "cash-out" bettors, the investigation has determined that
the AGCs held in the 5DIMES's nominee Amazon accounts are also used to purchase merchandise used
to operate and promote 5DIMES's illegal gambling operation, and used to purchase merchandise as form
of payment to individuals associated with 5DIMES.
26.       Under this money laundering scheme, 5DIMES relies on the use of nominee Amazon accounts to
receive and send AGCs with its U.S. bettors, as well as purchase merchandise from Amazon as payment
to bettors and employees or for 5DIMES operation. The investigation has identified several nominee
Amazon customer accounts used by 5DIMES, including the fifteen Amazon customer accounts listed in
Attachment A. Your Affiant believes these accounts are controlled by 5DIMES and its criminal
associates, based on evidence laid out in this affidavit. In total 15,611 AGCs worth $1,878,003.90 were
added to the nominee Amazon accounts controlled by 5DIMES and its criminal associates relevant to this
affidavit, as summarized in the below table. The AGCs and their value which comprise the total funds in
the fifteen Amazon customer accounts are detailed in Attachment B:
               Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 7 of 13




                      Amazon Accounts Associated with SDIMES
         Customer Account Number and Name           Total AGC Value Added to Account

 •                           GC Lover                $                    882,489.03

          ....
         ....
                       Diego Alfaro Esquivel         $                    326,330.00
 I I


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  1%


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    li1 -


     Iii
 II :m lW
          ...               Blue Iguana
                         Ellen McCormack
                            Alea Burke
                      Ricardo Calderon Perera
                       Sonia Mora Navarro
                                                     $
                                                     $
                                                     $
                                                     $
                                                     $
                                                                          185,187.25
                                                                           93,633.32
                                                                           94,719.04
                                                                           84,490.00
                                                                           69,606.00
 ••      &1D4t             Hao Quan Wu
                               Sheyni
                                                     $
                                                     $
                                                                           28,851.00
                                                                           26,457.26



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                          Uzoma lquagwu              $                     20,185.00
         Miid                  Allan                 $                      14,251.00
                               Allan                $                       12,395.00
  -
                           Kevin Chacon             $                      20,240.00
                               Tony                 $                       17,170.00
                             Sharavan               $                        2,000.00
              Total AGC Value Added to All Accounts $                  1,878,003.90
                                     GC LOVER Amazon Account
27.      As evident in the above table the nominee Amazon customer account used by 5DIMES with the
largest value of AGCs added to the account is named "GC LOVER." The GC LOVER Amazon account
was opened on August 28, 2012.
28.      A review of the GC LOVER account activity shows that since the account was opened in 2012 it
has been funded solely with AGC deposits. A total of9,304 AGCs valued at a combined $882,489.03
have been deposited into the account. All but 1,212 of these AGCs, a total value of $117,467.70 were
spent. All of the AGCs loaded to the GC LOVER account were purchased at third-party retailers. Based
on my training and experience as well as conversations with Amazon employees, the sheer number and
value of AGCs loaded to the GC LOVER account is highly suspicious. The high number and value of the
AGCs coupled with the fact that all the AGCs were purchased at t~ird-party retailers, strongly suggests
that they were deliberately purchased to conceal the source of funds used to purchase the AGCs and/or
disguise the purchaser of the AGCs, which I believe is consistent with the instructions provided by
5DIMES to its U.S. customers listed on the 5DIMES website.
29. . Once received, the GC LOVER account used the value of the suspicious AGC deposits to
conduct approximately 1, 113 orders for consumer goods from Amazon.com. Among the items purchased
and then shipped to over 100 addresses throughout the United States, were jewelry, electronics, apparel
and video games. Examples include a gold Tiffany bracelet costing $4,160 shipped to a person with no
apparent connection to 5DIMES, in Las Vegas, NV, a luxury handbag costing over $2,000 shipped to
anothe.r person with no apparent connection to 5DIMES in New York, and a camera costing $199 shipped
to a third person with no apparent connection to 5DIMES in North Carolina.
30.       Based on these facts and my training and experience, Your Affiant believes these goods were
purchased using the proceeds of 5DIMES illegal internet gambling operation and were payments sent to
5DIMES bettors who wanted to "cash-out" their gambling winnings, since 5DIMES does not have access
to the traditional U.S. financial system.
              Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 8 of 13




31.      The GC LOVER account also used the value of the AGC deposits to conduct over 600 orders
from Amazon from August 2012 through September 2015 for products which were then shipped to a
freight forwarder address in Miami, FL. Many of these products are items which would be expected to be
found in an internet business office, such as over 200 office style chairs totaling over $100,000, over 50
TVs costing in excess of $40,000, and thousands of dollars in computers and other electronics. Other
items the GC LOVER account purchased using the value of the AGCs and which were shipped to the
freight forwarder are luxury items. These include three high-end coffee makers costing in excess of
$16,000, four massage chairs totaling over $30,000 and a mink coat for $8,795. Two money counters
costing over $1,100 and two safes were also purchased by the GC LOVER account, using the value of the
AGCs, and shipped to the freight forwarder.
32.      The freight forwarder which received GC LOVER's purchases is in Miami, FL. Internet searches
reveal that the shipping address of the freight forwarder is the location of Ocean Air Cargo, a freight
forwarding company whose website indicates it ships exclusively from the U.S. to Costa Rica.
33.      Based on these facts and my training and experience, Your Affiant believes that the goods
purchased by GC LOVER and shipped to the freight forwarder were actually re-shipped to Costa Rica,
the location of 5DIMES and that believes these goods were purchased by 5DIMES using the proceeds of
5DIMES's illegal internet gambling operation and were used for the operation of the illegal business or
criminal-profits taken out of the business by its operators.
34.      The Amazon.com reports that the Internet Protocol or IP 2 information logged by Amazon.com for
the GC LOVER account indicates the GC LOVER Amazon account is accessed from Costa Rica via the
internet domain 3 "serviciosdeapuestas.com/Red_Planet_S.A." This domain is connected to hundreds of
web domains, nearly all of which contain references to gambling or the name '5Dimes' .com. An internet
Spanish translator indicates that "servicios de apuestas" translates to "betting services."
35.      On August 31st, 2015 the GC LOVER Amazon account placed an order on Amazon.com for 50
hooded sweatshirts which were custom silk-screened with a corporate logo. According to Amazon.com
the logo was that of 5DIMES. The sweatshirts were shipped to the Miami address of the Costa Rica
freight forwarder.
36.      In addition to the purchases detailed above the GC LOVER account purchased three rare gold
coins on Amazon.com which were shipped to Pennsylvania. Between August 13, 2015 and September 9,
2015, the GC LOVER account attempted to purchase six rare gold coins with a total value of$483,000.
Amazon blocked $315,000 of these purchases due to automated internal Amazon rules, and the orders
were canceled before the coins were shipped. The AGC funds used for those cancelled purchases were
returned to GC LOVER account. GC LOVER was able to successfully purchase three rare gold coins
costing $168,000.00, using AGC funds and the coins were shipped to Allison STAWARZ, at 666
Scrubgrass Rd, Pittsburgh, PA 15243. On May 28, 2015 the GC LOVER account purchased a 219 pound
safe from Amazon.com, using AG Cs, which was also shipped to STAWARZ at the same address. The
safe cost over $700 with shipping.

37.     The address the safe and gold coins were shipped to is owned by STAW ARZ according to
property records and the address is listed on STA WARZ's PA driver's license. An online obituary4 from
2008 for Marianne Creighton, lists among her survivors "her only son, Sean Creighton and companion
Allison Stawarz of Morgantown, W.VA." Law enforcement databases indicate that Sean CREIGHTON



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  An Internet Protocol address (IP address) is a unique numerical label assigned to each device (e.g., computer,
printer) participating in a computer network.
'A domain name is used to identify a device or service connected to the internet.
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  http://www4.vindy.com/extra/tributes/915393071.html accessed January 7, 2015
              Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 9 of 13




 has been linked to 5DIMES and may be the owner of 5DIMES. CREIGHTON and STA WARZ were co-
 owners ofa property located in Morgantown, WV which they sold in 2012.

38.     Based on these facts Your Affiant believes that CREIGHTON and STAWARZ are connected to
each other and 5DIMES.

39.      Amazon conducted an internal review of the GC LOVER account, and after determining that the
account was in violation of Amazon.corn's Customer Agreement and Acceptable Use Policy,
Amazon.com closed the GC LOVER account, blocking any further transactions, and froze the remaining
value of the AGCs in GC LOVER. The value of the AGCs which has been frozen in GC LOVER are
listed in detail in ATTACHMENT A.

40.      Based on (l) the source of the AGCs added to the GC LOVER Amazon account, which is
consistent with the instructions on the 5DIMES website on using cash to purchase AGCs to fund player
accounts; (2) the IP information for the GC LOVER account which indicates the account is accessed in
Costa Rica; (3) the connections between the domain used by the GC LOVER account with 5DIMES; and
(4) the shipment of purchases made by the GC LOVER account, including sweatshirts with the 5DIMES
logo to a freight forwarder which exclusively ships cargo to Costa Rica, Your Affiant believes there is
probable cause that the GC LOVER Amazon ..com account is a nominee account controlled by 5DIMES
and used as part of its illegal gambling and money laundering operation, and that the value of the 1,212
AGC deposits totaling $117,467.70 remaining in the GC LOVER account, listed in detail in
ATTACHMENT A, are proceeds of these illegal activities.

                               Other Amazon Accounts Associated with 5DIMES

41.     Based on the aforementioned evidence, Your Affiant believes the GC LOVER account is a
nominee account controlled by 5DIMES. In addition to the GC LOVER Your Affiant believes the
fourteen other Amazon customer accounts presented in the above table are also nominee accounts
controlled by 5DIMES. These additional fourteen Amazon customer accounts (the "RELATED
ACCOUNTS") are strongly associated with the GC LOVER account, based.on shared characteristics,
including (1) AGC transfers among and between the GC LOVER account and the RELATED
ACCOUNTS; (2) common sign-in events; and (3) purchases shipped to common addresses.

42.     A review of the RELATED ACCOUNTS' activity shows that since the accounts were opened in
2012 they have been funded solely or primarily with AGC deposits. A total of6,307 AGCs valued at a
combined $995,514.87 have been deposited into the RELATED ACCOUNTS. All but 363 of these
deposited AGCs, with a total value of $42,028.87, were spent.

43.     The RELATED ACCOUNTS have common sign-in events with the GC LOVER account which
strongly suggest the RELATED ACCOUNTS are associated. Specifically the RELATED· ACCOUNTS
share unique browser cookies 5 with the GC LOVER account. According to Amazon.com, customer
accounts share unique browser cookies when they have signed-in to Amazon.com from the same
computer. Using the same computer to access Amazon.com further suggests the RELATED
ACCOUNTS are associated.

44.      Analysis of the RELATED ACCOUNTS by Amazon.com indicates that, like the GC LOVER
account, these accounts also possess large pools of funds sourced by the AGC deposits, and conduct
transactions in a manner similar to the GC LOVER account. Specifically, as observed in GC LOVER's

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  A cookie also known as a HTTP cookie is a simple computer file which are often used by websites to track users
and record data about the user's activities. Cookies are usually sent by a website to a user's computer and stored on
that computer.
           Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 10 of 13




account, the AGCs deposited into the RELATED ACCOUNTS originate from third-party, non-internet
businesses with physical presences and are redeemed for a wide variety of purchases, which are shipped
to a large number of seemingly unrelated addresses throughout the U.S., including several international
re-shippers' in South Florida. Though the RELATED ACCOUNTS infrequently made Amazon.com
purchases using a credit card, and predominately funded their purchases with AGCs, several of the
RELATED ACCOUNTS did have credit cards listed in their accounts. Amazon.com records indicate that
these credit cards frequently originated from Costa Rica, the location of 5DIMES.

45.    Additionally IP information for all of the RELATED ACCOUNTS show that all have signed-in
to Amazon.com from Costa Rica using the 'serviciosdeapuests.com/Red_Planet_S.A.' domain, the same
domain associated with 5DIMES and GC LOVER.

46.     The RELATED ACCOUNTS have also made purchases of high-end products which were
shipped to individuals who also received shipments of merchandise purchased from Amazon by the GC
LOVER account. For instance, an unlocked iPhone and a gaming laptop purchased by two of the
RELATED ACCOUNTS were shipped to Allison STAWARZ, the recipient of the gold coins and 219
pound safe purchased by the GC LOVER account.

47.      Another of the RELATED ACCOUNTS shipped Amazon merchandise to Ellen MCCORMACK
c/o Sally CREIGHTON. The GC LOVER account shipped Amazon merchandise to Sean CREIGHTON
c/o Sally CREIGHTON at the same address. As detailed above Sean CREIGHTON has been linked to
5DIMES and may be the owner of 5DIMES.

48.     Four of the RELATED ACCOUNTS shipped Amazon merchandise to an individual in Maryland.
This same individual also received Amazon shipments purchased by the GC LOVER account.

49.     Amazon.corn's review of the RELATED ACCOUNTS determined that the accounts were in
violation of its terms of service because ( 1) they were suspected of operating, patronizing or otherwise
aiding a criminal online sports betting/casino gambling enterprise, (2) they were associated with the GC
LOVER account which redeemed AGCs determined to be the proceeds of fraud, and (3) the RELATED
ACCOUNTS made high-value purchases using deposited AGCs. Based on these findings and after
determining that the accounts were in violation of Amazon.com Gift Card Terms and Conditions,
Amazon.com closed the RELATED ACCOUNTS, blocking any further transactions, and froze the 363
remaining value of the deposited AGCs in the RELATED ACCOUNTS. The value of the deposited
AGCs in the frozen RELATED ACCOUNTS total $42,028.87, and are listed in detail in ATTACHMENT
A.
50.      Based on the commonalities with the 5DIMES nominee GC LOVER account, the connections to
Costa Rica where 5DIMES is located and the connections to Allison STA WARZ, Your Affiant believes
that the RELATED ACCOUNTS, like the GC LOVER account, are nominee accounts controlled by
5DIMES and used as part of its illegal gambling and money laundering operation, and that the value of
the 363 AGC deposits totaling $42,028.87 remaining in the fourteen RELATED ACCOUNTS, listed in
detail in ATTACHMENT A, are proceeds of these illegal activities.

                   5DIMES Criminal Activity in the Eastern District of Pennsylvania

51.      5DIMES's illegal off-shore gambling operation has customers all over the U.S. The investigation
has identified several 5DIMES customers who funded their 5DIMES' wagering accounts and placed
illegal bets via the internet while located in the Eastern District of Pennsylvania (EDPA). Additionally
the investigation has identified shipments of merchandise from Amazon, which were purchased by
5D1MES, using AGCs held in 5D1MES's nominee Amazon accounts and shipped to locations in the
           Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 11 of 13




EDPA. Among these were shipments made to addresses in Montgomery, Chester, Philadelphia,
Delaware and Bucks counties. One of the recipients was arrested in 2009 in Bucks County for state
gambling violations.

52.      One of these EDPA recipients, "GAMBLER l", received five Amazon shipments from 2014
through 2015 which were delivered to GAMBLER l's residence in the EDPA. All five of these
shipments were purchased by the Amazon account in the name of Sonia Mora NAVARRO, which Your
Affiant believes is one of 5DIMES's nominee account and is included in the RELATED ACCOUNTS.
Your Affiant interviewed GAMBLER 1 in January 2016. GAMBLER 1 confirmed that he received five
Amazon shipments which were purchased using AGCs totaling less than $1,000 in 2014 and 2015, at his
residence in the EDPA. GAMBLER 1 indicated that these products were shipped to him by 5DIMES.
GAMBLER 1 explained that 5DIMES is an "off-shore betting site" and that he placed thousands of
dollars in sports wagers until he quit the site after he realized he was becoming addicted. The Amazon
shipments were prizes GAMBLER 1 won on 5DIMES. GAMBLER 1 provided three emails he received
from 5DIMES documenting these Amazon shipments.

53.    The first email is from April 2015 and was sent from info@5dimes.eu, with a subject containing
"Fw: Betting Contest Prize." The email contained the following message:

        "Greetings,
        The purchase was already done and you should be receiving it in the next 10 days.
        Thank you for choosing us!
        Any further questions or assistance, please don't hesitate to contact us back.

        Best regards,

        Nicky
        5Dimes Casino & Sportsbook
        Customer Service Department"
54.     A review of Amazon records indicates that on the same date as the above email in April 2015,
sent from an email account with the same domain name as the 5DIMES website, Amazon customer
"Sonia Mora Navarro, ID# 16553025905" purchased merchandise using AGCs which was shipped to
GAMBLER 1 at his residence in EDPA. The other two emails provided by GAMBLER 1 were
consistent with the above email and were sent from the same email address in June 2015, regarding
Amazon prizes he won. The emails correspond with a purchase made in June 2015 by Amazon customer
Sonia Mora Navarro, ID# 16553025905, using AGCs which was shipped to GAMBLER 1 at his
residence in EDPA.
55.    Another EDPA recipient of merchandise from Amazon, which was purchased by 5DIMES, using
AGCs held in 5DIMES's nominee Amazon accounts, '"GAMBLER 2", received three Amazon shipments
from August 2014 through October 2014. All three were delivered to GAMBLER 2's residence in
EDPA. All three of these shipments were purchased by the Amazon account in the name of"Sonia Mora
NA VARRO", which Your Affiant believes is one of 5DIMES's nominee accounts and is included in the
RELATED ACCOUNTS.
56.     Your Affiant interviewed GAMBLER 2 in February 2016. GAMBLER 2 confirmed that he
received the three Amazon shipments which were purchased using AGCs totaling $155.95 in 2014, at his
residence in EDPA. GAMBLER 2 indicated that these products were shipped to him by 5DlMES.
            Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 12 of 13




GAMBLER 2 explained that 5DIMES is an online sports betting website which he used to gamble for
several years. GAMBLER 2 stopped using 5DIMES about six months ago when he ran out offunds. The
Amazon shipments were prizes GAM~LER 2 won on 5DIMES.
                    AGC Fraud Connected to the 5DIMES Nominee Amazon Accounts

57.      In August 2015 Amazon.com identified an unrelated customer who claimed to have been the
victim of an internet fraud scheme involving AGCs. The customer reported to Amazon.com that the
customer tried to purchase concert tickets on a third-party website and was encouraged by the ticket seller
to purchase a $200 AGC with cash from a non-internet business with a physical presence vendor and
transmit that AGC's unique code as payment for the tickets. The customer agreed and upon sending the
AGC's code, the ticket seller cut off communication with the customer and never sent the concert tickets.
Amazon.com records show that the AGC in question was subsequently added to the GC LOVER account
balance.

58.      In September 2015 Amazon.com received another fraud complaint matching this pattern of AGC
fraud from a second unrelated customer. Amazon.com records show that the AGC related to the second
fraud complaint was subsequently claimed by the GC LOVER account. .

59.      Amazon.com records indicate that the instructions received by both of these victims were nearly
identical to those on 5DIMES' website regarding AGCs (http://www.Sdimes.eu/PopUpsFromChart/gift-
card-amazon.html). According to the 5DIMES website, the maximum dollar value of AGCs accepted for
deposit per week is $200. Both AGCs identified in the two fraud complaints were valued at $200. Also
on the 5DIMES website, 5DIMES bettors are instructed to purchase AGCs to fund their wagering
accounts at third party vendors using cash, consistent with the instructions provided in the two frauds
detailed above.

60.      Based on this evidence, Your Affiant suspects that the unknown perpetrator of the unidentified
fraud is a 5DIMES gambling customer who carried out the scheme in order to obtain AGCs to be credited
to his or her 5DIMES wagering account balance.

61.      As detailed above in paragraph 11, Amazon Payments' Customer Agreement requires that users
of its services, including AGCs, "at all times adhere to all law applicable to your use of the Service .. .,"
prohibits users who "act as a payment int_ermediary, aggregator or service bureau or otherwise resell the
Service on behalf of any third party, including without limitation the handling, processing, and
transmission of funds for any third party .. .," and prohibits use of its services for specified activities
including "Gambling Businesses - includes online gambling (including poker), lotteries (including sale
of lottery tickets), games of chance (including sweepstakes and raffles), sports forecasting, or odds-
making."

62.      Based on the facts and evidence presented in this affidavit, Your Affiant believes that the
5DIMES Nominee Amazon Accounts were opened and operated by 5DIMES and its criminal associates
contrary to Amazon's policies limiting third-party transmission offunds and prohibition on gambling, and
that opening and operating the nominee accounts in such fashion constituted a fraud against Amazon, in
violation of Title 18 Section 1343.

IX.     Out of State Warrants

63.      Based upon my training and experience, I know that 18 U.S.C. section 98l(b)(3) provides that "a
seizure warrant may be issued ... by a judicial officer in any district in which a forfeiture action against
the property may be filed under Section 1355(b) of title 28, and may be executed in any district in which
the property is found .... " According to 28 U.S.C. Section 1355(b), a forfeiture action may be brought in
"the district court for the district in which any of the acts or omissions giving rise to the forfeiture
           Case 2:16-mj-00249 Document 1 Filed 03/01/16 Page 13 of 13




occurred .... " Because 5DIMES is involved in a conspiracy to operate an illegal internet gambling and
money laundering operation in which illegal bets were placed in the Eastern District of Pennsylvania and
because proceeds of this conspiracy were shipped to the Eastern District of Pennsylvania, the forfeiture
action can be brought in the Eastern District of Pennsylvania and the seizure warrants may be issued in
the Eastern District of Pennsylvania.

X.      Conclusion

64.       Based on the foregoing your affiant submits that there is probable cause to believe that the
contents of the Amazon Customer Accounts listed in Attachment A constitute the proceeds of and/or are
involved in a conspiracy to operate an illegal internet gambling operation in violation of 18 U.S.C. §§
3 71, I 084 and 1343, and were involved in a conspiracy to commit money laundering in violation of 18
U.S.C. sections l 956(a)(l) and l 956(h) or traceable to such property; and are therefore subject to seizure
and forfeiture pursuant to 18 U.S.C. § 981 (a)(l )(A) and (C), 18 U.S.C. 982(a)(l) and (2)(8), and 28
u.s.c. 2461.


                                          GEOFFREY GORDON
                                          Special Agent
                                          Homeland Security Investigations


Sworn and subscrib~d before me
this~ day of r-i..,.,,.J,            , 201/,

                                                  BY THE COURT:
